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   3. Confidentiality.

        a.      The Parties understand and agree that there shall be no confidentiality applicable to
Plaintiff’s wage-and-hour claims and the terms of the settlement of such claims and that Plaintiff shall
not be prohibited from discussing information related to or concerning her wage-and-hour claims,
along with the terms of resolution of those claims, only. Notwithstanding the above, as to the non-
wage claims and the resolution of such, Plaintiff agrees that neither she nor any person acting by,
through, under, or in concert with her will at any time disclose (by any method, including but not
limited to verbal, written, or electronic) the terms or existence of this Agreement or any fact
concerning its negotiation, execution, or implementation, the non-wage allegations in the Complaint
concerning                                               or the factual information or circumstances
relating to the                                                   asserted in the Complaint, except for
disclosures:     to an attorney of her choice who may be advising her in connection with this
Agreement

                                       or    as otherwise required by law (including valid subpoena).
In making any permitted disclosures under this Section 3.a.ii-iv, Plaintiff further agrees not to reveal
any information that would implicitly or explicitly identify                         with respect to the
non-wage allegations in the Complaint or the resolution of the non-wage allegations related to the
                                                  , unless required by law (including valid subpoena).
Plaintiff agrees disclosure in this Section includes, but is not limited to, any postings, comments,
pictures, texts, or notices through any smartphone, internet, social media, or related technology such
as chat rooms, web pages, Facebook, Twitter, Instagram, TikTok, Snapchat, WhatsApp, Four Square,
LinkedIn, Google Plus, Yelp, Glassdoor, and any and all similar such sites or technology, regardless
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of whether she participates anonymously or under a pseudonym, including but not limited to the
pseudonym “Jane Doe”. It is expressly understood and agreed by Plaintiff that she will notify the third
parties to whom she may make disclosures that they are required to maintain the confidentiality and
nondisclosure provisions pursuant to this Agreement. Further, Plaintiff expressly understands and
agrees that if                                                   determines that any individual as
indicated in Section 3.a.i-iv, to whom Plaintiff makes authorized disclosures, discloses or if any
individual with whom Plaintiff discusses any of the above information after the execution of this
agreement makes unauthorized disclosures, Plaintiff may be held liable under this Agreement for
those disclosures as if she engaged in them personally. Notwithstanding the foregoing, nothing in
this Agreement shall prohibit Plaintiff from initiating, testifying, assisting, complying with a
subpoena from, or participating in any manner with, an investigation by a government agency, or
from filing or disclosing facts necessary to receive unemployment insurance, Medicaid, or other
public benefit to which Plaintiff is entitled.

       b.        In the event Plaintiff is asked about
           , Plaintiff shall not be prohibited from discussing information related to or concerning
her wage-and-hour claims, along with the terms of resolution of those claims, only. As to all other
allegations in the Complaint (the non-wage allegations), Plaintiff shall respond only that they
decided to part ways. Moreover, if anyone who already knows of the existence of the Complaint
or the allegations contained therein asks about the matter, Plaintiff similarly shall not be prohibited
from discussing information related to or concerning her wage-and-hour claims, along with the
terms of resolution of those claims, only. As to all other allegations in the Complaint (the non-
wage allegations), Plaintiff shall respond only that the matter has been resolved to the mutual
satisfaction of the Parties.

        c.                    agrees that in response to any inquiries from prospective employers
regarding Plaintiff’s employment,               will provide only the following information: dates of
employment                                             and position held

        d.     Notwithstanding the foregoing, the Parties understand and agree that nothing in this
Agreement should be construed so as to prohibit anyone from disclosing the existence of this
Agreement to a court in connection with a response to a valid subpoena or court order. In such
event, however, the Party responding to the subpoena shall advise the court of the confidentiality
obligations set forth in this Agreement and shall request that the court refrain from placing the
terms of this Agreement on the record in a publicly accessible manner or otherwise disclosing such
terms to the public.
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